Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 1 of 21   PageID #: 1



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 Attorney for Plaintiffs

                   IN THE UNITED STATES DISTRICT COURT

                            DISTRICT OF HAWAI‘I

 HUI HO‘OMALU I KA ‘ĀINA;             ) Civil No. 17-00423
 CONSERVATION COUNCIL FOR             )
                                        COMPLAINT FOR DECLARATORY
 HAWAI‘I; and CENTER FOR              )
 BIOLOGICAL DIVERSITY,                ) AND INJUNCTIVE RELIEF
                                      )
              Plaintiffs,             )
                                      )
       v.                             )
                                      )
 HAWAI‘I DEPARTMENT OF                )
 TRANSPORTATION,                      )
                                      )
              Defendant.              )
                                      )
                                      )



        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 2 of 21               PageID #: 2



       Plaintiffs Hui Ho‘omalu i Ka ‘Āina, Conservation Council for Hawai‘i and

 the Center for Biological Diversity (hereinafter referred to collectively as

 “Plaintiffs”) complain of defendant Hawai‘i Department of Transportation

 (“HDOT”) as follows:


                                   INTRODUCTION

       1.     Attraction to bright lights is a major threat to the continued survival

 and recovery of the Newell’s shearwater (Puffinus auricularis newelli), the

 Hawaiian petrel (Pterodroma sandwichensis) and the Hawai‘i population of Band-

 rumped Storm-petrels (Oceanodrama castro) (collectively, “imperiled seabirds”).

 These seabirds are native to the Hawaiian Islands and protected pursuant to the

 Endangered Species Act (“ESA”), 16 U.S.C. §§ 1531 et seq. The Newell’s

 shearwater was listed as threatened in 1975, the Hawaiian petrel was listed as

 endangered in 1967, and the Hawaiian population of Band-rumped Storm-Petrels

 was listed as endangered in 2016.

       2.     During the fledging season (from late September to early December),

 imperiled seabirds heading to sea are drawn to artificial lights, circling them until

 they fall to the ground from exhaustion or strike human-made structures. Even if

 uninjured, grounded birds may be unable to take off again and are vulnerable to

 predation, vehicle collisions, starvation, dehydration and poaching. Adult birds are

 also attracted to lights and suffer injury and death.
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 3 of 21              PageID #: 3



       3.     In the past three decades, tens of thousands of shearwaters and

 hundreds of petrels have been grounded by bright lights and recovered by the Save

 Our Shearwaters (“SOS”) program (a program on Kaua‘i that provides locations

 for the public to turn in downed seabirds for release). Due in large measure to the

 harm resulting from light attraction, the Newell’s shearwater population on Kaua‘i

 (the center of abundance of the species) is crashing, with an estimated decline of

 ninety-four percent (94%) in only twenty years (1993-2013). The Hawaiian petrel

 population on Kaua‘i is also in sharp decline, with an estimated reduction of

 seventy-four percent (74%) over the same time period. While probably once

 common on all the main Hawaiian Islands, the Band-rumped Storm-petrel on

 Kauaʻi (which likely has the largest population remaining in the state) now

 numbers only an estimated 171 to 221 breeding pairs.

       4.     While there are other sources of bright light, Defendant’s airport and

 harbor facilities on Kaua‘i, Maui and Lāna‘i are among the largest documented

 sources of seabird take from light attraction in the state. Plaintiffs bring this action

 to protect these critically imperiled species by compelling Defendant’s compliance

 with its mandatory duties under the ESA. Specifically, as described more fully

 herein, Plaintiffs seek a declaration that, in the absence of a lawful incidental take

 permit, Defendants’ activities at its facilities violate the ESA’s prohibition on

 unpermitted “take” of federally listed species. Plaintiffs also seek appropriate


                                            2
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 4 of 21             PageID #: 4



 injunctive relief to protect Newell’s shearwaters, Hawaiian petrels and Band-

 rumped Storm-petrels from further harm from Defendant’s illegal activities.


                           JURISDICTION AND VENUE

       5.     The Court has subject matter jurisdiction over the claims for relief in

 this action pursuant to 28 U.S.C. § 1331 (action arising under the laws of the

 United States); 16 U.S.C. § 1540(c) (action arising under the ESA); 16 U.S.C. §

 1540(g) (citizen suit provision of the ESA); and 28 U.S.C. §§ 2201-2202 (power to

 issue declaratory judgments in cases of actual controversy).

       6.     On June 15, 2017, Plaintiffs served Defendant, as well as the

 Secretary of the Interior, with notice of the violations of law alleged herein, as

 required by ESA section 11(g)(2)(A), 16 U.S.C. § 1540(g)(2)(A).

       7.     Plaintiffs have formally demanded that Defendant bring its operations

 into compliance with the ESA, but Defendant has failed and refused, and continues

 to fail and refuse, to do so. An actual controversy therefore exists between the

 parties within the meaning of 28 U.S.C. § 2201 (declaratory judgments).

       8.     Venue lies properly in this judicial district by virtue of 16 U.S.C. §

 1540(g)(3)(A) and 28 U.S.C. § 1391(b) and (c) because the violations are

 occurring here, the cause of action arises here, real property involved in the action

 is situated here, and Defendant resides here.



                                            3
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 5 of 21            PageID #: 5



                                       PARTIES

       9.     Plaintiff Hui Ho‘omalu i Ka ‘Āina (“the Hui”) is a “taro roots”

 community-based organization founded by cultural practitioners in 1983 to restore,

 protect and preserve Kaua‘i’s natural and cultural resources. Members of the Hui

 include Native Hawaiian practitioners, community leaders, educators and other

 Kaua‘i residents who are actively involved in efforts to protect Kaua‘i’s unique

 biological and cultural treasures – including the Newell’s shearwater, Hawaiian

 petrel and Band-rumped Storm-petrel – for future generations.

       10.    Members of the Hui include Native Hawaiian fishermen who seek to

 perpetuate traditional fishing practices that rely on Newell’s shearwaters, Hawaiian

 petrels and Band-rumped Storm-petrels to locate schools of fish. Members also

 observe imperiled seabird behavior, which provides important information about

 imminent changes in the weather. The Hui’s members also participate in efforts to

 rehabilitate shearwaters and petrels that have been retrieved by the SOS program

 and to educate Kaua‘i’s school children regarding the birds’ cultural and biological

 significance. Moreover, the Hui’s members regularly observe and study or seek to

 observe and study these species for recreational, aesthetic and scientific purposes.

 To protect these cultural, subsistence, educational, recreational, aesthetic and

 scientific interests, Hui Ho‘omalu i Ka ‘Āina brings this action on behalf of itself

 and its adversely affected members.


                                           4
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 6 of 21              PageID #: 6



       11.    Plaintiff Conservation Council for Hawai‘i (“CCH”) is a non-profit

 citizens’ organization based in Hawai‘i with approximately 5,000 members in

 Hawai‘i, the United States mainland and foreign countries. CCH is the Hawai’i

 affiliate of the National Wildlife Federation, a non-profit membership organization

 with over 5.8 million members and supporters nationwide.

       12.    CCH’s mission is to protect native Hawaiian species, including

 threatened and endangered species, and to restore native Hawaiian ecosystems for

 future generations. In this capacity, CCH and its members frequently submit

 testimony to the Hawai‘i State Legislature on various bills relating to the

 protection of the environment, testify before administrative agencies on proposed

 regulations relating to species conservation, communicate with Hawai‘i’s

 congressional delegation and staff, review and comment on environmental impact

 statements, support scientific studies and research, engage in field work to survey

 Hawai‘i’s natural resources, participate in service projects to protect native species

 and ecosystems, prepare educational materials, including an annual wildlife poster

 featuring native Hawaiian flora and fauna, and publish a periodic newsletter

 (Kōlea, News from the Conservation Council for Hawai‘i) discussing Hawaiian

 environmental issues. The group’s 2013 newsletter describes the observation of

 Newell’s shearwaters and Band-rumped Storm-petrels as “feel[ing] the pulse of

 Hawai‘i.” The group’s 2010 wildlife poster, which CCH distributes free of charge


                                           5
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 7 of 21           PageID #: 7



 to every public, charter, private and Native Hawaiian Language Immersion school

 in Hawai‘i, features the Newell’s shearwater.

       13.    With respect to Hawai‘i’s rare and endangered species, CCH and its

 members have worked to establish sanctuaries on each of the main Hawaiian

 Islands and have testified before the Hawai‘i Natural Area Reserves System

 (“NARS”) Commission for the expansion of these areas. CCH was involved in the

 creation of two NARS that protect important nesting and breeding habitat for the

 imperiled seabirds: Hono o Nā Pali on Kaua‘i and Nakula on Maui. CCH also

 regularly submits comments to the Department of Land and Natural Resources

 (“DLNR”) on the size of NARS areas and the management of these areas. CCH

 and its members have regularly testified to the Hawai‘i State Legislature in an

 effort to secure adequate, permanent funding for the NARS.

       14.    CCH and its members have advocated for increased efforts to remove

 and exclude feral sheep, goats, deer and pigs from state lands that are biologically-

 important to the imperiled seabirds, as feral ungulates eat seabird eggs and chicks

 and destroy the native vegetation the imperiled seabirds need to establish their

 nesting colonies. CCH and its members also have advocated for increased efforts

 to remove alien vegetation that endangers native Hawaiian ecosystems that provide

 vital habitat for the imperiled seabirds.




                                             6
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 8 of 21           PageID #: 8



       15.    CCH conducts educational programs about the imperiled seabirds. As

 part of their Manu Kai (Seabird) Campaign, CCH educates children about

 Hawai‘i’s seabirds – including the imperiled seabirds – and the many threats that

 they face.

       16.    CCH members include wildlife biologists, Native Hawaiian

 practitioners, farmers, fishers, hunters, educators, artists, community leaders and

 others who study and enjoy native Hawaiian birdlife, including the Newell’s

 shearwater, Hawaiian petrel and Band-rumped Storm-petrel. CCH members who

 live on the mainland visit the islands to observe and enjoy Hawai‘i’s native

 wildlife, including the imperiled seabirds. CCH brings this action on behalf of

 itself and its adversely affected members and staff.

       17.    Plaintiff Center for Biological Diversity (the “Center”) is a non-profit

 corporation dedicated to preserving, protecting and restoring biodiversity, native

 species, ecosystems, and public lands. The Center has approximately 1.3 million

 members and online activists, many of whom reside in the state of Hawai‘i, and

 maintains offices throughout the western United States. The Center’s members

 and staff regularly spend time on Kaua‘i, Maui and Lāna‘i for seabird observation,

 research, aesthetic enjoyment and other recreational, scientific and educational

 activities. The Center’s members and staff have researched, studied, visited,

 observed or attempted to observe, photographed or attempted to photograph, and


                                           7
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 9 of 21              PageID #: 9



 sought protection for Newell’s shearwaters, Hawaiian petrels and Band-rumped

 Storm-petrels on Kaua‘i, Maui and Lāna‘i. The Center’s members and staff intend

 to continue to research, study, visit, observe, photograph and seek protection for

 these species in the future. The Center’s members and staff derive scientific,

 recreational, conservation and aesthetic benefits from the existence of these

 animals in the wild. The Center brings this action on behalf of itself and its

 adversely affected members and staff.

       18.    To protect their interests in the imperiled seabirds, all three plaintiff

 groups filed lawsuits in 2010 to protect these species from death and injury

 associated with the activities of the Kaua‘i Island Utility Cooperative (“KIUC”)

 and the St. Regis Princeville Resort, including, but not limited to, harm associated

 with attraction to bright lights at facilities owned and operated by those defendants.

 Plaintiffs’ lawsuit against KIUC resulted in KIUC securing incidental take permit

 coverage for its harmful activities, while Plaintiffs’ lawsuit against St. Regis

 culminated in a settlement pursuant to which the resort implemented measures to

 reduce seabird attraction, committed to secure incidental take permit coverage, and

 has made monthly contributions to fund projects selected by Plaintiffs that benefit

 the imperiled seabirds.

       19.    The above-described cultural, aesthetic, conservation, recreational,

 subsistence, scientific and educational interests of the three plaintiff groups and


                                            8
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 10 of 21             PageID #: 10



  their respective members have been, are being, and, unless the relief prayed herein

  is granted, will continue to be adversely affected and irreparably injured by the

  Defendant’s continued refusal to comply with its obligations under the ESA, as is

  more fully set forth below. The individual interests of the Plaintiffs’ members, as

  well as Plaintiffs’ organizational interests, are thus directly and adversely affected

  by Defendant’s unlawful actions.

        20.    Defendant HDOT is an agency of the State of Hawai‘i that is tasked

  with the establishment, maintenance and operation of transportation facilities of the

  State, including, but not limited to, airports and harbors on Kaua‘i, Maui and

  Lāna‘i.


                                LEGAL FRAMEWORK

        21.    “[T]he Endangered Species Act of 1973 represented the most

  comprehensive legislation for the preservation of endangered species ever enacted

  by any nation.” Tennessee Valley Authority v. Hill, 437 U.S. 153, 180 (1978). In

  furtherance of Congress’s goal to conserve species, the ESA generally prohibits the

  “take” of any species listed as endangered or threatened. 16 U.S.C. §

  1538(a)(1)(B). By regulation, the U.S. Fish and Wildlife Service – which

  administers the ESA with respect to terrestrial species, including the imperiled

  seabirds – has extended the prohibition on take to threatened species, including the

  Newell’s shearwater. 16 U.S.C. § 1533(d); 50 C.F.R. §§ 17.21, 17.31, 402.01(b).
                                             9
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 11 of 21                 PageID #: 11



        22.    The ESA’s prohibition on “take” includes actions that “harass,”

  “harm” and “kill” protected species. 16 U.S.C. § 1532(19). The ESA’s

  regulations define “harass” as “an intentional or negligent act or omission which

  creates the likelihood of injury to wildlife by annoying it to such an extent as to

  significantly disrupt normal behavioral patterns which include, but are not limited

  to, breeding, feeding, or sheltering.” 50 C.F.R. § 17.3. “Harm” is defined as “an

  act which actually kills or injures wildlife.” Id.

        23.    To comply with the ESA, Defendant may not “take” any threatened

  Newell’s shearwater, endangered Hawaiian petrel or endangered Band-rumped

  Storm-petrel in the course of its operations unless Defendant first obtains and

  complies with the terms of an incidental take permit in accordance with ESA

  section 10(a), 16 U.S.C. § 1539(a).

        24.     The U.S. Fish and Wildlife Service may not issue an incidental take

  permit unless it first concludes that a permit applicant’s activities will not

  “appreciably reduce the likelihood of the survival and recovery of [any endangered

  or threatened] species in the wild.” 16 U.S.C. § 1539(a)(2)(B)(iv). The ESA

  further conditions the issuance of an incidental take permit on the applicant

  developing and committing to implement a habitat conservation plan (“HCP”) that,

  among other things, minimizes and mitigates the impacts of any incidental take of




                                            10
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 12 of 21            PageID #: 12



  endangered and threated species to the maximum extent practicable. Id. §

  1539(a)(2)(A)(ii), (B)(ii).


                                BACKGROUND FACTS

  Newell’s Shearwaters

        25.    The Newell’s shearwater is endemic to Hawai‘i (i.e., it is found in

  Hawai‘i and nowhere else on Earth). It is a medium-sized seabird, 12 to14 inches

  in length, with a wingspan of 30 to 35 inches. It has a glossy black top and a white

  underside, with small white patches observable on the side of the rump in flight.

        26.    Newell’s shearwaters forage over deep water, generally hundreds of

  kilometers out to sea, feeding by diving several meters below the ocean’s surface

  to retrieve squid and fish.

        27.    Newell’s shearwater colonies are found at high elevations inland, with

  nests often located under dense vegetation in open native forest dominated by

  ‘ōhia, with a dense understory of uluhe fern.

        28.    Compared to most birds, but typical of its family, the Newell’s

  shearwater has a low rate of reproduction. First breeding does not occur until

  approximately six years of age, and breeding pairs produce only one egg per year.

  Pairs may or may not breed every year.

        29.    The Newell’s shearwater’s breeding season begins in April, when

  birds return from foraging at sea to previously used nest sites or to prospect for
                                            11
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 13 of 21              PageID #: 13



  new sites in the case of first-time breeders. Egg-laying begins in the first two

  weeks of June and likely continues through the early part of July. The single egg is

  laid at the end of a long burrow, and one adult bird remains on the egg while the

  second adult goes to sea to feed. The chick growth period lasts approximately

  ninety days, and most fledging takes place in October and November.

           30.   Once the chick has hatched and is large enough to withstand the cold

  temperatures of the mountains, both parents will go to sea to provide the growing

  chick with a supply of food.

           31.   Newell’s shearwaters arrive and leave their burrows during darkness,

  and the birds are rarely seen near land during daylight hours.

           32.   By far the greatest number of Newell’s shearwater colonies and

  individuals are located on Kaua‘i. During the early 1990’s, the estimated Newell’s

  shearwater population on Kaua‘i was approximately 65,000 birds, out of a total

  year-round, at-sea population in the Hawaiian Islands of approximately 84,000

  birds.

           33.   Recent studies indicate that, between 1993 and 2013, the Newell’s

  shearwater population on Kaua‘i declined by approximately ninety-four percent

  (94%).

           34.   Attraction to bright lights is one of the leading causes of injury and

  death to Newell’s shearwaters. The vast majority of Newell’s shearwaters that fall


                                             12
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 14 of 21             PageID #: 14



  victim to take from bright lights are hatch-year birds, but adult Newell’s

  shearwaters are also subject to take from light attraction. When light attraction

  takes an adult Newell’s shearwater, any chick that is still in the burrow, depending

  on the adult for food, also likely perishes.


  Hawaiian Petrels

        35.    The Hawaiian petrel is an endemic Hawaiian seabird that forages

  widely across the central, northern and eastern Pacific Ocean for squid, fish, and

  crustaceans. This bird, similar in size to the Newell’s shearwater, has a dark grey

  head, wings and tail, and a white forehead and stomach. Satellite-tagged birds

  have been tracked traveling more than 10,000 kilometers on a single foraging trip

  to and from their breeding colonies in the main Hawaiian Islands.

        36.    Hawaiian petrels have a low reproductive rate. They do not first

  breed until five to six years of age and may not breed every year once mature.

        37.    Known Hawaiian petrel breeding areas on Kaua‘i are within interior

  valleys and uplands, where the birds excavate burrows beneath dense vegetation

  along valley headwalls, favoring steep slopes covered with uluhe fern. Hawaiian

  petrels have other breeding colonies on Maui and Lāna‘i, and smaller colonies on

  Hawai‘i Island. On Hawaiʻi Island and Maui, where the soil is dry and vegetation

  is scarce, Hawaiian petrels nest in cavitities in the volcanic terrain, such as cracked

  lava tubes and crevices.
                                            13
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 15 of 21            PageID #: 15



         38.   Hawaiian petrels begin arriving on breeding grounds and pairing in

  mid-February. Each pair produces only one egg per year, and egg-laying generally

  occurs in May and June.

         39.   Hawaiian petrel chicks hatch in July and August. Male and female

  parents share in the feeding of their chicks. After a chick hatches, its parents

  briefly stay and protect the chick before beginning a routine of extended ocean

  foraging. The parents will then abandon their young, around September or

  October of each year, and leave the nesting colony until the next season.

         40.   Fledging begins in late September, and, by December, adult and

  successful fledging birds have departed the Hawaiian Islands. Once the chicks

  leave, they will not return to land for several years, when they return to prospect

  for nests.

         41.   The Hawaiian petrels that are attracted to lights tend to be adult birds,

  and their chicks are likely to die when a parent downed by bright lights is unable to

  continue caring for its young.

         42.   The number of Hawaiian petrels on Kaua‘i was estimated at

  approximately 5,000 pairs in the mid-1990’s, but that number has declined by an

  estimated seventy-four percent (74%) in the years since. There are only an

  estimated 450 to 600 breeding pairs of Hawaiian petrels on Maui.




                                            14
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 16 of 21           PageID #: 16



  Band-rumped Storm-petrels

        43.    The Band-Rumped Storm-petrel is smaller than the Newell’s

  shearwater at 7.5 to 9 inches in length, with a wingspan of 18 inches. The Band-

  rumped Storm-petrel is black and brown with a slightly forked tail, pale wing bars

  and a clear, curved white band across the rump.

        44.    Band-rumped Storm-petrels forage widely across the Pacific Ocean

  for squid, fish and crustaceans.

        45.    Band-rumped Storm-petrels breed on Kaua‘i in steep valleys

  vegetated with shrubs and grasses at elevations around 1,950 feet. On Maui and

  Hawai‘i Island, suitable nesting habitat can be found at elevations greater than

  3,900 feet in crevices or holes in cliff faces and remote lava flows. Like most

  seabirds, a single egg is laid per season. In Hawai‘i, eggs are laid between May

  and June, and nestlings fledge in October.

        46.    While probably once common on all the main Hawaiian Islands

  before the arrival of humans, the Band-rumped Storm-petrel is now significantly

  reduced in numbers and range. The population on Kauaʻi, which likely has the

  largest population remaining in the state, numbers only an estimated 171 to 221

  breeding pairs. Remnant breeding populations likely persist on Maui, Kaho‘olawe,

  Lāna‘i and Hawai‘i Island.




                                           15
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 17 of 21             PageID #: 17



        47.    Like the Newell’s shearwater and the Hawaiian petrel, the Band-

  rumped Storm-petrel is vulnerable to fallout from artificial light attraction, and this

  vulnerability was one of the factors on which the U.S. Fish and Wildlife Service

  based its decision to list the Hawai‘i population of Band-rumped Storm-petrels as

  endangered in 2016. The very small size and dark coloring of the Band-rumped

  Storm-petrel means, however, that the bird is almost never recovered when

  grounded. Consequently, the take of Storm-petrels is not fully represented in SOS

  data and similar data for Maui County gathered by the Maui Nui Seabird Recovery

  Project (“MNSRP”).


  HDOT’s Operations “Take” Listed Seabirds

        48.    Plaintiffs are informed and believe, and on the basis thereof allege,

  that Newell’s shearwaters, Hawaiian petrels and Band-rumped Storm-petrels are

  attracted to bright lights at Defendant’s airport and harbor facilities on Kaua‘i,

  Maui and Lāna‘i, circling the lights until the imperiled seabirds fall to the ground

  from exhaustion or strike HDOT buildings or other structures.

        49.    According to data compiled by the SOS program and the MNSRP,

  between 2013 and 2017, bright lights at Defendant’s airport and harbor facilities

  caused the unauthorized take of at least ten Newell’s shearwaters on Kauaʻi (two

  shearwaters were recovered from Līhuʻe Airport, and eight were recovered from

  Nāwiliwili Habor), ten Hawaiian petrels and one Newell’s shearwater at Kahului
                                            16
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 18 of 21            PageID #: 18



  Airport, six Hawaiian petrels at Kahului Harbor and two Hawaiian petrels at Lānaʻi

  Airport.

         50.    The SOS and MNSRP data reflect only the tip of the iceberg with

  respect to the harm Defendant’s operations inflict on the imperiled seabirds. The

  total take of these species is almost certainly higher because disoriented birds may

  crash into the nearby ocean or thick vegetation and not be recovered, or are often

  found dead, in which case they are excluded from the SOS data. Moreover, the

  small size and dark coloring of the Band-rumped Storm-petrel means that the bird

  is almost never recovered when grounded. The take of storm-petrels is not,

  therefore, fully represented in SOS and MNSRP data, even though it is vulnerable

  to fallout from artificial light attraction.

         51.    Once Newell’s shearwaters, Hawaiian petrels and Band-rumped

  Storm-petrels are grounded by light attraction, they have very limited ability to

  resume flight from the ground. Thus, once on the ground, they are vulnerable to

  predation by dogs, cats and other mammals, as well as to injury and death by

  vehicles, other human activity or due to dehydration or starvation.

         52.    Defendant lacks an incidental take permit for the take of listed

  seabirds associated with its operations. In the absence of a valid incidental take

  permit, each threatened Newell’s shearwater, endangered Hawaiian petrel or




                                                 17
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 19 of 21              PageID #: 19



  endangered Band-rumped Storm-petrel that is killed, injured or otherwise “taken”

  by Defendant’s operations constitutes an independent violation of ESA section 9.

        53.    As the SOS and MNSRP data make clear, Defendant illegally takes

  listed seabirds each year, and this illegal take has continued into the 2017 nesting

  season. The lighting fixtures Defendant uses at its airport and harbor facilities are

  tall, freestanding and exceptionally bright, making them attract threatened and

  endangered seabirds. Coastal lights like the ones at Defendant’s harbors cause

  more fallout than inland lights, meaning the harbor lights are particularly

  dangerous for the seabirds.

        54.    Defendant is aware of its long-standing non-compliance with the

  ESA. For several years, Defendant participated with DLNR’s Division of Forestry

  and Wildlife, the U.S. Fish and Wildlife Service, the County of Kaua‘i and several

  private entities to develop an island-wide HCP that would minimize the take of the

  imperiled seabirds from light attraction on Kaua‘i and would offset unavoidable

  harm by protecting seabird nesting colonies. Plaintiffs are informed and believe,

  and on the basis thereof allege, that the island-wide HCP process identified

  Defendant’s facilities on Kaua‘i as one of the largest sources of unauthorized take

  of imperiled seabirds on the island.

        55.    On or around October 1, 2016, Defendant unilaterally withdrew from

  the Kaua‘i island-wide HCP development process. Plaintiffs are informed and


                                           18
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 20 of 21             PageID #: 20



  believe, and on the basis thereof allege, that, following receipt of Plaintiffs’ notice

  of intent to sue, Defendant decided to rejoin the HCP process for its airport and

  harbor operations on Kaua‘i. Defendant has yet, however, to secure incidental take

  permit coverage for any of the ongoing harm its operations on Kaua‘i, Maui and

  Lāna‘i inflict on the imperiled seabirds.

           56.   In the absence of a valid incidental take permit, Defendant has been

  violating, and continues to violate, the ESA.


                          CLAIM FOR RELIEF
       (VIOLATION OF ESA PROHIBITION ON UNAUTHORIZED TAKE)

           57.   Plaintiffs reallege and incorporate by this reference the preceding

  paragraphs of this Complaint.

           58.   Each year, Defendant’s operations “take” threatened Newell’s

  shearwaters, endangered Hawaiian petrels and/or endangered Band-rumped Storm-

  petrels without incidental take permit coverage. This unauthorized “take” has

  violated and is violating the ESA. 16 U.S.C. § 1538(a)(1)(B); 50 C.F.R. §§ 17.21,

  17.31.


                                  PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs respectfully request that the Court:




                                              19
Case 1:17-cv-00423-ACK-RLP Document 1 Filed 08/23/17 Page 21 of 21            PageID #: 21



        1.     Enter a declaratory judgment that Defendant has violated and is

  violating the Endangered Species Act by taking listed species without incidental

  take authorization;

        2.     Issue appropriate injunctive relief;

        3.     Award Plaintiffs the costs of this litigation, including reasonable

  attorney’s fees; and

        4.     Provide such other relief as may be just and proper.



        DATED:          Honolulu, Hawai‘i, August 23, 2017.


                                                 Respectfully submitted,



                                                 /s/ David L. Henkin
                                                 DAVID L. HENKIN
                                                 Earthjustice
                                                 850 Richards Street, Suite 400
                                                 Honolulu, HI 96813
                                                 Attorneys for Plaintiffs




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